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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA


                                      MEMORANDUM



Honorable Morrison C. England                   RE: Richie Mishal
Chief, United States District Judge                 Docket Number: 0972 2:04CR00357-001
Sacramento, California                              Docket Number: 0972 2:07CR00105-001
                                                    PERMISSION TO TRAVEL
                                                    OUTSIDE THE COUNTRY

Your Honor:


Richie Mishal is requesting permission to travel on a family vacation to Amman, Jordan, in
November, 2014.      Mr. Mishal is current with all supervision obligations, and the probation
officer recommends approval be granted. Mr. Mishal was granted a term of supervised release in
both cases and his only financial obligation were the special assessments, in both cases, which
have been paid in full.


Conviction and Sentencing Date:           On May 5, 2011, Richie Mishal was sentenced in Docket
Number 2:04CR00357-01, for the offense(s) of Conspiracy to Import, Possess, and Distribute a
List 1 Chemical Knowing and Having Reasonable Cause to Believe that it will be used to make a
Controlled Substance in violation of 21 USC 846; 841 (c)(20) and 960 (d) (3), Count 1;
Conspiracy to Launder Money, International Money Laundering in violation of 18 USC 1956(h),
and 1956 (a)(2)(A), Count 7; Conspiracy to Structure Transactions to Avoid Reporting
Requirements in violation of 18 USC 371, 31 USC 5324(a)(1) and 5324 (a) (3),Count 14 and
Criminal Forfeiture, in violation of 21 USC 853(a), 18 USC 982(a)(1) and 31 USC 5317(c)(1),
all Class C Felonies. Also, on May 5, 2011, Richie Mishal was sentenced in Docket Number
2:07CR00105-01, for the offense (s) of Possession and Distributing a Listed Chemical Knowing
and Having Reasonable Cause to Believe that it would be used in Manufacture
Methamphetamine in violation of 21 USC 841 (c) (2), Count 3, a Class C felony and Criminal
Forfeiture in violation of 21 USC 853..




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                                                                                        REV. 05/2013
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Sentence Imposed: Mr. Mishal was sentenced to 108 months to be served concurrently in both
cases. He was placed on supervised release for a total of 36 months, to run concurrently in both
cases. He was ordered to pay a special assessment of $300 in Docket Number 2:04CR00357-01
and $100 in Docket Number 2:07CR00105-01. Special Conditions: Cooperate in the collection
of DNA testing; no firearms; Search; Provide access to any financial information; participate in
outpatient correctional treatment program to obtain assistance for drug or alcohol abuse;
participate in program of drug and or alcohol testing; not possess a paging device or cellular
phone without advance permission of the probation officer and provide all billing records.;
abstain from alcohol use; mental health treatment; Co payment for treatment; provide business
and personal phone records; disclose all existing telephone line and cable service providers; drug
registration; and not associate with any co-defendants or other persons involved on the
conspiracy.


Dates and Mode of Travel: November 2014, Airlines


Purpose: To spend time with family.




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                                        Respectfully submitted,

                                         /s/ Michael A. Sipe
                                  For
                                         SHARI R. SIMON
                                        U.S. Probation Officer

Dated:    October 6, 2014
          Roseville, California
          SRS

                             /s/ Michael A. Sipe

                           Michael A. Sipe
                           Supervising United States Probation Officer
 REVIEWED BY:



                                  ORDER OF THE COURT

          ☒     Approved          ☐        Disapproved


Dated: October 24, 2014




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                                                                                         REV. 09/2013
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